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Prob 12A (10/16)
VAE(6/18)

                                  UNITED STATES DISTRICT COURT                                NOV     6 2018
                                                     for the
                                                                                        CLERK. U.S. DISTRICT COURT
                                  EASTERN DISTRICT OF VIRGINIA                             ALEXANDRIA, VIRGINIA


U.S.A. vs. Alarie Soitzer                                       DocketNo. 1:17MJ273


                                               Petition on Probation


        COMES NOW Frank Weaver. PROBATION OFFICER OF THE COURT, presenting an official report
upon the conciuct and attitude of Alarie Soitzer. who was placed on supervision by the Honorable Ivan D. Davis,
United States Magistrate Judge sitting in the Court at Alexandria. Virginia, on the 14th day of August. 2017. who
fixed the period of supervision at 18 months, and imposed the general terms and conditions heretofore adopted
by the Court and also imposed special conditions and terms as follows:


                                                    See Page 2**


RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:
                                                  Sec Attacliment(s)

PRAYING THAT THE COURT WILL ORDER a summons to be issued directing that the offender appear
before the Court to show cause why supervision should not be revoked. This officer respectfully requests this
matter be set for after her November 29, 2018, court date to monitor the status of his pending state charges detailed
in this report.

Returnable Date:        K/oyembefi. ^1,            ^(2 lO'.OO A-nr\.

 ORDER OF COURT                                               I declare under the penalty of peijury that the
                                                              foregoing is true and correct.
 Considered and ordered this            day of f)cO .
                                                                                                 Digitally signed by
 20 I ^ and ordered filed and made a part of the              Executed on:                       Franklin Weaver
 records in the above case.                                                                      Date:2018.11.05 15fl9:21
                                                                                                 •OS'Off


                                                              Frank Weaver
                                                              Senior U.S. Probation Officer
                                                              (703)299-2336
                           /s/
                                                              Place Alexandria. Virginia
                      Ivan D. Davis
              United States Magistrate Judge




TO CLERK'S OFFICE
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RE: Spitzer, Alarie

OFFENSE: Driving While Intoxicated with BAG of .08% or More in violation of Title 18, U.S.C. § 13
Assimilating Virginia Code § 18.2-266.1.

SENTENCE: The defendant was sentenced to an 18 month period of supervised probation with the following
special conditions: 1) the defendant shall serve 5 days in jail (weekends/intermittent) at the direction of the
probation officer; 2) the defendant shall participate in and successfully complete an Alcohol Safety Action
Program or other alcohol treatment program as deemed appropriate by the probation office; 3)for the first year
of probation, commencing on August 14, 2017, the defendant may not operate a motor vehicle anywhere in the
United States except(a)to and from work,as incident to or required by work,(b)to and from court, the probation
office, and the Alcohol Safety Action Program;4)the defendant shall undergo Remote Alcohol Testing ifdeemed
appropriate by the probation officer; 5)the defendant shall pay a $250.00 fine, and a $25.00 special assessment
as to count, to be paid by November 14,2017.

ADJUSTMENT TO SUPERVISION: The defendant's term of supervised probation commenced on August 14,
2017. Since the inception of supervision, the defendant has worked at several restaurants located near her home.
At the time of the new criminal conduct detailed below, the defendant was working at IHOP but indicated she
had only obtained the employment on October 30, 2018. Before her employment at IHOP,she worked at a local
Chili's restaurant.


On September 13,2017,the undersigned submitted a violation report with request for no-action which alleged on
September 4, 2017,the defendant was arrested and charged with Simple Assault on a Family Member as a result
of an altercation she had with her now,estranged husband. This violation report was approved on September 13,
2017. On October 4, 2017, the defendant appeared before the Fredericksburg County Juvenile Domestic and
Relations Court. At that time, the matter was continued to October 2, 2019, and the defendant was ordered to
remain on good behavior until her October 2, 2019, hearing.

Throughout supervision, collateral contacts with the defendant's mother have been favorable. She advised the
defendant abstained from the use of alcohol and multiple drug tests taken throughout the term of supervision
returned negative for the use of alcohol. The defendant completed intake with the Rappahannock Area Alcohol
Safety Action Program on September 18, 2017, and successfully completed treatment on August 27, 2018. The
defendant completed her 5-day period ofintermittent confinement on September 23,2017,and paid her monetary
penalties on October 11, 2017. Furthermore, this officer notes despite two prior Driving While Intoxicated
charges, the defendant obtained her driver's license on September 10, 2018.

VIOLATIONS: The following violations are submitted for the Court's consideration.

MANDATORY CONDITION:                 COMMISSION OF A CRIME -DRIVING WHILE INTOXICATED:
                                     2^0 OFFENSE WITHIN 5 YAERS WITH BAC OF .15%-.20%;
                                     DRIVING WRONG WAY ON ONE-WAY HIGHWAY.

On November 1, 2018, Alarie Spitzer was arrested and charged with the above referenced criminal conduct by
Officer A.J. Velasco of the Fredericksburg Police Department. The defendant was subsequently released from
the custody ofthe Rappahaimock Regional Jail on that date. Currently, this matter is scheduled to be heard before
the Fredericksburg General District Court on November 29, 2018. A review of the police report indicated on
November 1, 2018, Ms. Spitzer was observed operating a motor vehicle traveling the wrong direction down the
highway. A traffic stop was initiated at which time Officer Velasco detected an odor of alcohol emitting from the
vehicle. Ms. Spitzer was asked ifshe had been drinking and she admitted she had. Sobriety tests were administered
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and as a result ofthe defendant's failure on the sobriety tests, a breath test was administered. Ms. Spitzer registered
a 0.17g/210L on a EC/IR II tests. At that time, the defendant was arrested and charged with Driving While
Intoxicated and Driving the Wrong Direction on a One-Way Highway.

FJW/cdp




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